IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELINA KHARCHENKO,
Plaintiff,
v. : NO. 2:22-CV-01421-CMR
WT RAND TRANSPORT, LLC and : ELECTRONICALLY FILED

WT RAND LOGISTICS, LLC,
Defendants.
FELLERMAN & CIARIMBOLI LAW, P.C.’S OPPOSITION TO

BOCHETTO & LENTZ, P.C.’S MOTION TO INTERVENE AND
FOR RECONSIDERATION OF STIPULATED ORDER

Daniel T. Brier

Donna A. Walsh

Myers, Brier & Kelly, LLP
425 Biden Street, Suite 200
Scranton, PA 18503

Attorneys for Intervenor,
Fellerman & Ciarimboli Law, PC
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INTRODUCTION

By Order dated September 25, 2023 (ECF 43), this Court recognized
Fellerman & Ciarimboli Law, P.C.’s (“F&C”) charging lien against any recovery by
Plaintiff Angelina Kharchenko by virtue of the legal services that F&C provided to
Ms. Kharchenko before she transitioned her representation to Michael J. O’Neill,
Esquire. Both Ms. Kharchenko and Mr. O’Neill agree that F&C is owed $80,000
from the settlement proceeds for its services. They further agree that those funds
were deposited in an escrow account in the name of Bochetto & Lentz, P.C. for the
specific purpose of satisfying F&C’s charging lien. On the basis of these
admissions, the Court entered the Stipulated Order on April 30, 2024 (ECF 49)
directing that the $80,000 in the Bochetto & Lentz account shall be distributed to
F&C to satisfy its lien.

Two days after the payment deadline passed, Bochetto & Lentz moved to
intervene and for reconsideration of the Stipulated Order based on its argument that
the escrowed funds should instead be distributed to its client, Thrivest Legal
Funding, LLC (“Thrivest”), which is a creditor of Mr. O’Neill. Bochetto & Lentz’s
motion is both legally and factually flawed. Mr. O’Neill had no interest in the
escrowed funds capable of being attached by his creditor. And Bochetto & Lentz

has no interest in the funds necessary for intervention. Further, and dispositively,
F&C’s charging lien has priority over any other claim that may be made to the
settlement funds.
The escrowed funds should be distributed to F&C forthwith as directed in the

Stipulated Order.

FACTUAL BACKGROUND

F&C represented Ms. Kharchenko in this personal injury action from
September 2021 through February 2023 when Ms. Kharchenko ended her
relationship with F&C and selected Mr. O’Neill as successor counsel. See F&C’s
Motion for Leave To Intervene For Limited Purpose of Asserting Charging Lien
Against Proceeds of Settlement or Judgment in Favor of Plaintiff (hereinafter
“Charging Lien Motion”) § 2, 9 (ECF 28).' Pursuant to the Contingent Fee
Agreement which Ms. Kharchenko signed on September 23, 2021, upon termination
of the representation, F&C was entitled to receive 40% of “the last good faith offer
of settlement” received by Ms. Kharchenko, together with reimbursement of costs

and expenses advanced by F&C on her behalf. Id. {if 3, 4?

1 The Charging Lien Motion is attached as Exhibit A to the Declaration of Daniel
T. Brier (“Brier Decl.”) which is Exhibit 1 to this opposition brief.

2 To protect the confidentiality of settlement discussions, details concerning the
settlement offer are not included in this public filing.

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On March 2, 2023, F&C moved for leave to intervene in this action to assert
its charging lien. ECF 28. There was no opposition to the motion which was granted
by Order dated September 25, 2023. ECF 43.

On October 9, 2023, Mr. O’Neill advised the undersigned counsel for F&C
that Ms. Kharchenko settled her claims in this matter. See Brier Decl. 5 & Ex. C.
Mr. O’Neill confirmed that F&C “maintains a lien” against the settlement and asked
F&C to verify the total amount owed. Id. Mr. O’Neill wrote in relevant part:

This correspondence is to conform that your client
maintains a lien in the following amounts:

1. $20,835.78 for costs; and

2. $80.000 for fees pursuant to the fee agreement with Ms.
Kharchenko less 20% ($16,000) referral/rainmaker fee.

The total due to F&C in the above matter is $84,838.78.
Please confirm and this will be paid as soon as possible.

Td.

F&C disputed Mr. O’Neill’s calculation, particularly his claim to a
“referral/rainmaker fee.” Id. | 6 & Ex. C. Counsel for F&C asked Mr. O’Neill for
additional information concerning the settlement and also that he confirm that the
entire attorneys’ fee was placed in an escrow account pending resolution of F&C’s

charging lien. Jd.
Following an additional exchange of emails, Mr. O’Neill wrote to the Court
on October 11, 2023 to ask for a telephone conference to address the dispute over
the amount of the charging lien. Jd. § 7 & Ex. D. In his letter, Mr. O’Neill, both for
himself and for Ms. Kharchenko, acknowledged that F&C had an $80,000 fee
interest in the settlement proceeds and was entitled to be reimbursed for outstanding
costs. Id.

Following an additional exchange of letters and a telephone conference with
the Honorable Lynne A. Sitarski on October 19, 2023, the fee dispute was referred
to the Honorable Carol Sandra Moore Wells for a settlement conference November
30, 2023. Id. 48. The fee dispute was not resolved at the conference. Id. 9. Mr.
O’Neill did not disclose prior to or during the settlement conference that he had
placed Kharchenko settlement funds that were admittedly subject to F&C’s charging
lien in an escrow account at Bochetto & Lentz. Id. 10.

On December 15, 2023, Mr. O’Neill was deposed in connection with litigation
pending in the Court of Common Pleas of Luzerne County arising out of Mr.
O’Neill’s separation from F&C. Jd. § 11. During the deposition, Mr. O’Neill
disclosed for the first time that he had deposited part of the Kharchenko settlement
funds into an escrow account at Bochetto & Lentz, P.C. to protect F&C’s fee interest.
At no time prior to the deposition did Bochetto & Lentz notify F&C or its counsel

that it was holding any funds from the Kharchenko settlement. Id.
Following the deposition, the undersigned counsel placed a call to Gavin
Lentz, Esquire of Bochetto & Lentz to verify whether Kharchenko settlement funds
had been placed in its escrow account. Id. § 12. Mr. Lentz confirmed that his firm
was holding Kharchenko settlement funds in its escrow account. Id.

In March 2024, Mr. O’Neill and F&C resolved their outstanding disputes
through a series of settlement discussions conducted by the Honorable Karoline
Mehalchick of the U.S. District Court for the Middle District of Pennsylvania. Jd. 4
13. In furtherance of the settlement, Mr. O’Neill reaffirmed, this time in a letter to
Judge Mehalchick, that he has no interest in the funds in the Bochetto & Lentz
escrow account and instead those funds belong to F&C. Id. ¥ 14 & Ex. E. He wrote:

I write to confirm that I do not have any interest in
or claim to the $80,000.00 in funds placed in the escrow
account of Bochetto & Lentz, P.C. as a result of the
settlement of the Kharchenko case.

By way of background, Fellerman & Ciarimboli
Law, P.C. (“F&C”) represented Angelina Kharchenko
from September 2021 to February 2023 pursuant to a
Contingent Fee Agreement dated September 23, 2021 (a
copy is attached). Ms Kharchenko discharged F&C as her
counsel in February 2023. I alone represented Ms.
Kharchenko after February 2023.

Prior to Ms. Kharchenko’s termination of her
relationship with F&C, F&C received an offer to settle Ms.
Kharchenko’s claim for $[]. Under the terms of the
Contingent Fee Agreement that Ms. Kharchenko signed,
F&C is entitled to []% of the $[] offer, or $80,000.00, to
be paid out of any recovery she received. F&C is also
entitled to $20,835.78 out of Ms. Kharchenko’s recovery
as reimbursement for costs advanced by F&C. Ms.
Kharchenko and I do not dispute these amounts are owed
to F&C out of the escrowed _funds_to satisfy her
obligations under the Contingent Fee Agreement.

Id. (emphasis added).

Pursuant to this acknowledgement, the undersigned counsel wrote to the Court
on April 11, 2024 to report that a settlement was reached and to request a telephone
conference to discuss distribution of the $80,000 deposited in the Bochetto & Lentz
escrow account. Id. 4 15 & Ex. F. Prior to the conference, F&C and Mr. O’Neill,
both for himself and on behalf of Ms. Kharchenko, agreed to the language in the
Stipulated Order. Id. 16. The settlement terms were presented to Judge Wells at
the conference on April 30, 2024 and the Court thereafter entered the Stipulated
Order dated April 30, 2024. Jd. §§| 16-17 & Ex. G. Consistent with the settlement
terms agreed to with the assistance of Judge Mehalchick, Mr. O’Neill, both for
himself and as counsel for Ms. Kharchenko stipulated and agreed that F&C “is
entitled to the $80,000.00 on deposit in the Bochetto & Lentz, P.C. escrow account
to satisfy the charging lien recognized by Order dated September 25, 2023.” See
Stipulated Order at p.2. Mr. O’Neill and F&C further stipulated, and the Court
Ordered, that “[t]he settlement funds totaling $80,000.00 deposited in the Bochetto

& Lentz, P.C. escrow account are the sole and exclusive property of Fellerman &

Ciarimboli Law, P.C. and shall be distributed to Fellerman & Ciarimboli Law, P.C.
to satisfy its lien in the above-captioned matter within seven days of the date of this
Stipulated Order.” Jd. (emphasis added).

The undersigned counsel for F&C served the Stipulated Order on Bochetto &
Lentz on May 1, 2024. See Brier Decl. 4 18 & Ex. H. Bochetto & Lentz failed to
deliver the deposited funds by May 7, 2024 as directed in the Stipulated Order. Id.
419. Bochetto & Lentz filed the instant motion on May 9, 2024 seeking leave to
intervene and requesting reconsideration of the Stipulated Order.

ARGUMENT

A. Bochetto & Lentz Is Not an Escrow Agent But, If It Were, the Stipulated
Order Controls Disposition of the Escrowed Funds.

Bochetto & Lentz claims an interest in the Kharchenko settlement funds as an
“escrow agent,” ECF 51-2 at 5, but this is not accurate. Bochetto & Lentz did not
take possession of the funds as an “escrow agent,” but, assuming it did, the Stipulated
Order still controls disposition of the funds.

An escrow arrangement exists where parties reach an agreement with an
escrow agent to hold property until the performance of a specific condition or the
happening of a specific event. See Struck v. Binns, No. 94-4835, 1995 WL 57481,
at *3 (ED. Pa. Feb. 10, 1995); Simmet v. Graeber, 145 A. 528, 529 (Pa. 1929). An
escrow agent is considered to be the agent of both parties and its powers are limited
to those stipulated by the parties in the escrow agreement. See Struck, 1995 WL

57481 at *3; In re Dolly Madison Indus., Inc,, 351 F. Supp. 1038, 1042 (E.D. Pa.
1972) (“Prior to the happening of any of the conditions upon which the escrow
agreement operates, the escrow agent is not empowered to act for either party.”),
aff'd, 480 F.2d 917 (3d Cir. 1973); Samango v. Pileggi, 526 A.2d 417, 421 (Pa.
Super. 1987) (“The depository under an escrow agreement is generally considered
to be the agent of both parties, and the agent’s authority must be strictly construed.”’).

Here, Bochetto & Lentz is not a neutral third party, cannot claim to have acted
pursuant to an escrow agreement with F&C, and does not claim to be an agent for
Mr. O’Neill or F&C. It is not an escrow agent.> And, if Bochetto & Lentz were an
escrow agent, the Stipulated Order is nonetheless dispositive with respect to
disposition of the deposited funds. The documents appended as Exhibit 4 to Mr.
Lentz’s Certification (ECF 51-7) demonstrate that Mr. Lentz agreed that the funds
would be held in his firm’s escrow account until “the court has authorized the
distribution.” See October 16, 2023 email at 10:48 am; see also October 16, 2023
email at 11:02 am (“I will hold it in our IOLTA account until the court releases it.”).

Consistent with the express understanding under which Bochetto & Lentz took

3 Bochetto & Lentz appears to have held the funds in trust in its IOLTA account
pursuant to Rule 1.15(f) of the Pennsylvania Rules of Professoinal Conduct which
directs that, “[w]hen in possession of funds or property in which two or more
persons, one of whom may be the lawyer, claim an interest, the funds or property
shall be kept separate by the lawyer until the dispute is resolved.” Pa. R. Prof.
Conduct 1.15(f). This does not make Bochetto & Lentz an escrow agent and does
not alter F&C’s priority as the holder of a charging lien.

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possession of the funds, the Stipulated Order controls and requires distribution of
those funds to F&C.

B. _Bochetto & Lentz Has No Interest in the Deposited Funds Necessary for
Intervention.

As evidenced by Bochetto & Lentz’s commitment to Mr. O’ Neill that it would
“hold [the funds] in our IOLTA account until the court releases it,” ECF 51-7, it has
no interest in the deposited funds and therefore is not entitled to intervene either as
of right or by permission.

Rule 24(a) of the Federal Rules of Civil Procedure provides that a person may
intervene as of right where he or she “claims an interest relating to the property or
transaction that is the subject of the action, and is so situated that disposing of the
action may as a practical matter impair or impede the movant’s ability to protect its
interest, unless existing parties adequately represent that interest.” Fed. R. Civ. P.
24(a)(2).* A potential intervenor as of right must satisfy four criteria to succeed on
a motion to intervene: (1) the application for intervention must be timely, (2) the
applicant must have a sufficient interest in the litigation, (3) the interest must be
affected or impaired as a practical matter by the disposition of the action, and (4) the

interest must not be adequately represented by an existing party in the litigation.

4 Rule 24 also permits a party to intervene as of right or by permission where a
federal statute allows intervention. Fed. R. Civ. P. 24(a)(1), (b)(1)(A). Bochetto &
Lentz does not claim a right to intervene under any statute and therefore this
alternative basis for intervention has no application here.

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United States v. Territory of Virgin Islands, 748 F.3d 514, 519 (3d Cir. 2014). The
interest claimed by the proposed intervenor must be a “legally cognizable interest”
that is “significantly protectable” and must belong to or be owned by the movant.
Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220-21 (3d Cir. 2005) (quoting
Mountain Top Condo. Ass’n vy. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 366
(3d Cir. 1995)). In addition, to intervene as of right, a proposed intervenor must
have Article III standing. Town of Chester, N.Y. v. Laroe Estates, Inc., 581 U.S.
433, 440 (2017) (“[A]n intervenor of right must have Article II standing in order to
pursue relief that is different from that which is sought by a party with standing.”).
Bochetto & Lentz falls far short of the required showing for intervention as of
right. It does not and cannot claim any interest in the Kharchenko settlement or the
deposited funds. Whatever interest Bochetto & Lentz claims is wholly derivate of
its client, Thrivest, and any potential interest claimed by Thrivest vanished upon Mr.
O’Neill’s admission that the escrowed funds are not his, but rather the funds belong
to F&C. Because Bochetto & Lentz has no legally cognizable interest in the
deposited funds, it has no right to intervene. Harris v. Pernsley, 820 F.2d 592, 601
(3d Cir. 1987) (“[T]Jhe applicant must demonstrate that there is a tangible threat to a
legally cognizable interest to have the right to intervene.”). And, because Bochetto
& Lentz’s only involvement is as counsel for Thrivest and lawyers do not have

standing to assert their client’s claimed rights, Bochetto & Lentz lacks standing to

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intervene. Conn v. Gabbert, 526 U.S. 286, 292-93 (1999) (holding that lawyer
“clearly had no standing to raise the alleged infringement of the rights of his client”).

Bochetto & Lentz also fails the test for permissive invention. Rule 24(b)
allows for permissive intervention if the proposed intervenor “has a claim or defense
that shares with the main action a common question of law or fact.” Fed. R. Civ. P.
24(b)(1)(B). Bochetto & Lentz has not asserted any claim or defense on its own
behalf, let alone any claim or defense that shares questions of law or fact with any
claim before the Court. There is no basis for permissive intervention. Brody v.
Spang, 957 F.2d 1108, 1124 d Cir. 1992) (“{I]f intervention as of right is not
available, the same [lack of interest] would indicate that it would not be an abuse of
discretion to deny permissive intervention as well.”).

In addition, Bochetto & Lentz’s motion to intervene is untimely. The firm
was on notice of F&C’s fee interest in the settlement proceeds since at least October
16, 2023, as evidenced by Mr. Lentz’s email exchanges with Mr. O’Neill on that
date referencing the fee dispute. ECF 51-7 Bochetto & Lentz did not move to
intervene until more than six months later. This was too late. See, e.g., American
Universal Ins. Grp. v. Nutbrown, No. 87-5674, 1988 WL 50359, at *2 (E.D. Pa. May

16, 1988) (intervention denied where movant waited six months before filing

motion).

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While F&C agrees that the most sensible and practical procedure would be
for this Court to resolve any dispute concerning the settlement funds in this
proceeding, Bochetto & Lentz cannot meet the test for intervention as of right or
permissive intervention. Its motion to intervene should be denied.

C. F&C’s Charging Lien Has Priority and Is Properly Satisfied Out of the
Deposited Funds.

Bochetto & Lentz claims that its client, Thrivest, has a superior interest in the
deposited funds because the funds are attorney’s fees paid to Mr. O’Neill and
because Thrivest has a judgment against Mr. O’Neill. ECF 51-2 at 1-2, 5. This
argument misstates the facts and misapprehends the nature of a charging lien.

Contrary to Bochetto & Lentz’s unsupported assertions, the Kharchenko
settlement funds placed in the Bochetto & Lentz escrow account were not fees
earned by Mr. O’Neill. Instead, the Kharchenko settlement funds were at all relevant
times subject to F&C’s charging lien. See ECF 43 at n.1 (“[T]he Court grants F &
C’s motion and permits it to intervene for the limited purpose of asserting a charging
lien at the appropriate time.”). Mr. Lentz acknowledged that there was a dispute
over the fee and agreed to hold the funds until “the court has authorized the
distribution.” ECF 51-7 at p.1. Mr. O’Neill, both for himself and on behalf of Ms.
Kharchenko, subsequently denied any interest in the deposited funds and

acknowledged and agreed that the funds belong to F&C. ECF 49 at 2. Because the

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deposited funds do not—and never did—belong to Mr. O’Neill and do not represent
payment of his fee, the central premise of Bochetto & Lentz’s motion is incorrect.
Further, in claiming priority for its client’s confessed judgment entered on or
about June 2, 2023, ECF 51-2, Bochetto & Lentz misapprehends the legal effect of
a charging lien. In Pennsylvania, a lawyer is entitled to be paid out of a fund which
resulted from his or her skill and labor. Appeal of Harris, 186 A. 92, 97 (Pa. 1936).
As the Pennsylvania Supreme Court explained, “[i]t would be manifestly unjust to
permit [a creditor] to reap all the benefits of the attorney’s endeavors and to ‘get out
from under’ even the smallest share of the burden which produced the benefits.” Jd.
An attorney’s claim for fees incurred in creating a fund is afforded priority
over all other claims against the fund. See Ries v. National R.R. Passenger Corp.,
No. 89-51, 1993 WL 131490, at *2 (E.D. Pa. Apr. 27, 1993) (“[E]quitable
considerations support the satisfaction of an attorney’s lien for fees prior to the
recognition of other competing claims because the attorney’s efforts created the fund
from which other parties seek to benefit.”); United States v. Commonwealth of Pa.,
Dep't of Highways, 349 F. Supp. 1370, 1393 (E.D. Pa. 1972) (“[U]nder
Pennsylvania law, as between the charging lien . . . and the security interest... [the
charging] lien is superior on the fund which [the firm’s] services secured .. .”);
Appeal of Harris, 186 A. at 97 (attorney charging lien has priority over mortgagee

because “lien creditor must yield his claim to the attorney’s reasonable claim for

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compensation”); Patten v. Wilson, 34 Pa. 298, 300 (Pa. 1859) (“equitable
assignment” of money judgment to lawyer as payment for legal services “defeats”
claims of creditors); Ambeliotis v. Ambeliotis, No. 229 WDA 2016, 2016 WL
5842167, at *8 (Pa. Super. Aug. 31, 2016) (“Under Pennsylvania law, an attorney’s
equitable charging lien is superior to that of other creditors.”) (non-precedential);
Almi, Inc. vy. Dick Corp., 375 A.2d 1343, 1350 (Pa. Cmwlth. 1977) (attorney
charging lien “is entitled to priority” over judgment creditor and lien holder).

Based on the September 25, 2023 Order recognizing F&C’s charging lien, and

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Mr. O’Neill’s subsequent admission that the $80,000 in Bochetto & Lentz’s escro
account belongs to F&C to satisfy its lien, the Stipulated Order properly directed
distribution of the funds to F&C.

Bochetto & Lentz cites no authority which subordinates an attorney’s
charging lien to the claim of any other creditor. It relies exclusively on Shenango
Sys. Sols., Inc. v. Micros-Systems, Inc., 887 A.2d 772 (Pa. Super. 2005), which it
claims supports the proposition that a judgment creditor has priority over an attorney
asserting a charging lien, ECF 51-2 at pp.7-8, but that is not the holding in that case.

Shenango Systems Solutions involved a series of competing awards between
parties to a dealership agreement. 887 A.2d at 772-73. Micros obtained a judgment
against Shenango for $331,006 and Shenango obtained an arbitration award against

Micros for $198,677, which included an $82,456 award of counsel fees under a fee-

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shifting provision in the parties’ contract. Jd. Shenango sought to enforce the
arbitration award and its counsel sought leave to intervene to obtain recognition of
a charging lien based on the attorney’s fee award. Id. at 773. Micros defended by
claiming that it satisfied all obligations owed to Shenango by way of set-off because
its judgment exceeded the amount of the arbitration and attorney’s fee awards. Id.
The Superior Court agreed, finding that, “[a]fter application of the appropriate set-
off there was no fund left available for distribution.” Jd. at 775. Contrary to
Bochetto & Lentz’s argument, ECF 51-2 at 7, the Superior Court did not recognize
a charging lien, but rather “questioned how a charging lien can exist” without an
agreement that counsel will look to a fund rather than the client for compensation.
Id. The decision has no application here and certainly does not change the
longstanding precedent holding that a charging lien has priority over all other claims
to a fund created through the lawyer’s efforts.

Moreover, the attachments to Bochetto & Lentz’s motion make plain that
Bochetto & Lentz took possession of the settlement funds knowing they were subject
to a fee dispute. In the email exchange on October 16, 2023—just days after Mr.
O’Neill acknowledged to Judge Sitarski that F&C is owed $80,000 out of the
settlement proceeds to satisfy its charging lien, see Brier Decl.| 7 & Ex. D—Mr.
O’Neill referenced the “letters” to the Court and the then-extant dispute over the fee

owed to F&C. He wrote at 10:45 am on October 16: “I have the funds and can wire

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immediately once either the judge responds to our letters of last week or I’m given
an update [sic] ‘disputed’ amount to the fees.” ECF 51-7 at p.2. Mr. Lentz
responded just three minutes later at 10:48 am: “Let’s do this, I will hold the 80- K
in escrow until you get the permission from the judge. I agree not to transfer it until
you send me proof that the court has authorized the distribution.” ECF 51-7 at p.1.
Mr. O’Neill wrote back at 10:59 am: “I’d be happy to do that. As long as I can
maintain it [sic] the Court, if asked, that it’s being maintained in an IOLTA escrow
fund that should be fine.” Jd Mr. Lentz replied at 11:02 am: “Yes, I am now
confirming in this email that I will hold it in our IOLTA account until the court
releases it....” Jd. Having taken possession of the funds subject to the fee dispute
and with the understanding that the funds would be distributed as directed by the
Court, Bochetto & Lentz cannot mount a credible challenge to the Stipulated Order.

There was no mistake or new evidence and no grounds for reconsideration of
the Stipulated Order. The funds should be distributed to F&C forthwith in

accordance with the Stipulated Order.

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CONCLUSION

For the reasons above, Bochetto & Lentz’s motion to intervene and for

reconsideration should be denied and the funds in Bochetto & Lentz’s escrow

account should be distributed forthwith to F&C pursuant to the Stipulated Order.

Myers, Brier & Kelly, LLP
425 Biden Street, Suite 200
Scranton, PA 18503

(570) 342-6100

Date: May 30, 2024

Respectfully submitted:

/s/ Donna A. Walsh
Daniel T. Brier
Donna A. Walsh

Attorneys for Intervenor,
Fellerman & Ciarimboli Law, PC

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CERTIFICATE OF SERVICE

I, Donna A. Walsh, hereby certify that a true and correct copy of the foregoing
Brief in Opposition was served upon the following counsel of record via the Court’s
ECF system on this 30th day of May, 2023:

Michael J. O’Neill, Esquire
1002 Garrett Mill Road
Newton Square, PA 19073

Colleen B. Maslowski, Esquire

Daniel M. Brown, Esquire

Leticia J. Santiago, Esquire

The Law Offices of William J. Ferren & Associates
P.O. Box 2903

Hartford CT 06104

Gavin P, Lentz. Esquire
Bochetto & Lentz, P.C.
1524 Locust Street

Philadelphia, PA 19102

/s/ Donna A. Walsh
Donna A. Walsh

